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U.S. ms 1 RICT COURT

lN THE UNITED sTATEs DISTRICT C oURT FILED
FoR THE NoRTHERN DISTRICT oF '."EXAS

 

 

 

 

 

 

 

DALLAS DIVISION Jj_ .. 8 m
]ILL SCOTT AND STUART SCOTT, wax
lNDIVIDUALLY AND AS NEXT ly
FRIENDS OF MADISON SCOTT, ¢
Plaintiffs,
Civil Action No. "`,~.,\
v. 3:OZ»CV»1265»R m i§
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BAYLOR UNIVERSITY MEDICAL w_y/
CENTER d/b/a THE KIMBERLY H.

COURTWRIGHT & ]OSEPH SUMMERS
INSTITUTE OF METABOLIC DISEASE,

Defendant.

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FINDINGS, CONCLUSIONS, AND RECOMMENDATION
OF THE UNITED STATES MAGISTRATE lUDGE

Pursuant to the District Court’s Order of Reference, filed June 26, 2002, the Emergency
Motion of Plaintiffs to Remand Improperly Removed Case, filed June 20, 2002, is before this Court
for hearing, if necessary, and f`or recommendation The Court held an emergency hearing on this
motion on June 27, 2002. For the following reasons, the Plaintiffs’ motion should be GRANTED
and the case REMANDED to the County Court at Law No. 5 of Dallas County, TeXas.

I. Background

Plaintiffs J ill and Stuart Scott (Plaintiffs) filed this negligence suit in state court against
Defendant Baylor University Medical Center (Baylor) in December 2000. On June 7, 2002, only
seventeen days before trial, the Plaintiffs filed their Third Supplemental Petition in the County Court
at Law No. 5 of Dallas County, Texas, alleging for the first time that Baylor had breached its legal
duty to the Plaintiffs by, in addition to ten other reasons, failing to comply with the standards set
forth in the Clinical Laboratories Improvement Act (CLIA). (P.s’ App. at 7, ll-lZ.) On June l7,

2002, Baylor filed its Notice of Removal, claiming that federal jurisdiction exists pursuant to 28

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U.S.C. § 1331 on the theory that the “Plaintiffs’ claims against the Defendant cannot be determined
without reference to or interpretation of federal law,” i.e., CLIA. (D.’s Notice of Removal at 1, 3.)
II. Analysis

Baylor contends that this Court has jurisdiction pursuant to 28 U.S.C. § 1331. (D.’s Notice
of Removal at 2.) Specifically, Baylor argues that the Plaintiffs’ Third Supplemental Petition adds
a cause of action under CLIA, thereby conferring subj ect matter jurisdiction on this Court pursuant
to § 1331. (Id. at 2-3.) The Plaintiffs counter that they have asserted only a negligence cause of
action and that they simply intend to prove that Baylor breached its duty to the Plaintiffs by violating
the requirements of CLIA. (P.’s Mot. at 3-4.)

In Merrell Dow Pharmaceuticals, lnc. v. Thompson, 478 U.S. 804, 817 (1986), the United
States Supreme Court held that “a complaint alleging a violation of a federal statute as an element
of a state cause of action, when Congress has determined that there should be no private, federal
cause of action for the violation, does not state a claim ‘arising under the Constitution, laws, or
treaties of the United States.”’ Merrell Dow Pharmaceulicals, Inc. v. Thompson, 478 U.S. 804, 817
(1986). The Court finds that the instant case presents exactly the situation contemplated by Merrell
Dow Pharmaceuticals. First, a plain reading of the Plaintiffs’ Third Supplemental Petition reveals
that the Plaintiffs do not assert a separate cause of action under CLIA. (P.s’ App. 10-12.) To the
contrary, the Plaintiffs allege that of the eleven “acts and omissions” by Baylor, one act or omission
was a failure to comply with the standards set forth in CLIA. (Id. at 1 1-12.) Therefore, the Plaintiffs
merely intend to prove an element of` their negligence claim by demonstrating that Baylor failed to
comply with CLIA. (Id. at 10-12.) Second, there is no private cause of action under CLIA. 42

U.S.C. § 263a (2002); Whitehead v. Edmondson, No. 1:97CV29-S-D, 1998 WL 173226, at *l (N.D.

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Miss. Mar. 24, 1998) (concluding that CLIA does not provide a private cause of action). As such,
the holding in Merrell Dow Pharmaceuticals controls, and the Court lacks federal question
jurisdiction under § 1331.

Baylor further argues that this Court has federal question jurisdiction under § 1331 because:
(1) the Plaintiffs have engaged in “artf`ul pleading”; (2) the Plaintiffs are judicially estopped from
contending that their CLIA allegation is anything other than a federal claim; (3) CLIA has preempted
the state cause of action; and (4) the instant case meets the test articulated in Howery v. Allstate Ins.
Co., 243 F.3d 912 (5th Cir. 2001), for determining the existence of federal question jurisdiction
(D.’s Resp. at 6, 7, 10-11, 17-23.) These arguments are without merit. The “artful pleading,”
estoppel, and preemption arguments assume that there is a private, federal cause of action which the
Plaintiffs have maintained or must maintain Likewise, the test articulated in Howery applies only
where the applicable federal statute provides for a private cause of action1 Howery v. Allstate Ins_
Co., 243 F.3d 912, 917-18 (5th Cir. 2001). As discussed above, there is no private cause of action
under CLIA. 42 U.S.C. § 263a (2002); Whitehead, 1998 WL 173226, at *1. Therefore, in
accordance with Merrell D0w Pharmaceuticals, this Court lacks federal question jurisdiction under
§ 133 1 .
III. Conclusion

For the foregoing reasons, the Court RECOMMENDS that the Emergency Motion of

Plaintiffs to Remand Improperly Removed Case be GRANTED and that the case be REMANDED

 

1 In Howery, the underlying federal statute was the Fair Credit Reporting Act (FCRA). Howe)y, 243 F.3d
at 917-18. Not only does the Fifth Circuit in Howery assume that a private cause of` action exists under the FCRA,
z`d., but other courts in this circuit have concluded that a private cause of action exists under the FCRA. See
Washington v. Direct General Ins. Agency Co., 130 F. Supp. 2d 820, 824 (S.D. Miss. 2000); Bacon v. Southwest
Airlines Co., No. 3:97-CV-2211-L, 1999 WL 134569, at *3 (N.D. Tex. 1999).

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to the County Court at Law No. 5 of Dallas County, Texas.

SO RECOMMENDED. July 8, 2002.

   

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PAUL D. sriéKNEY v
UNITED sTATES MAGISTRATE JUDGE

INSTRUCTIONS FOR SERVICE AND
NOTICE OF RIGHT TO APPEAL/OBJECT

Pursuant to Title 28, United States Code, Section 636(b)(1), any party who desires to object
to these findings, conclusions and recommendation must file and serve written objections within ten
(10) days after being served with a copy. A party filing objections must specifically identify those
findings, conclusions or recommendation to which objections are being made. The District Court
need not consider frivolous, conclusory or general obj ections. A party’s failure to file such written
objections to these proposed findings, conclusions and recommendation shall bar that party from a
de novo determination by the District Court. See Thomas v. Arn, 474 U.S. 140, 150 (1985),' Perales
v. Casillas, 950 F.2d 1066, 1070 (5th Cir. 1992). Additionally, any failure to file written objections
to the proposed findings, conclusions and recommendation within ten (10) days after being served
with a copy shall bar the aggrieved party from appealing the factual findings and legal conclusions
of the Magistrate Judge that are accepted by the District Court, except upon grounds of plain error.
Douglass v. United Servs. Auto. Ass ’n, 79 F.3d 1415, 1428~29 (5th Cir. 1996) (en banc).

   
    
 
 

     

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PAUL D. STICKNEY

UNITED STATES MAGISTRATE JUDGE

